                              CASE 0:22-mj-00741-TNL Doc. 6 Filed 09/06/22 Page 1 of 1


                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
   UNITED STATES OF AMERICA,
                             Plaintiff,           UNDER SEAL
   v.
   CHARLES KENNETH REDDING,                    Criminal No. 22-mj-741
                           Defendant,
                     APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: Charles Kenneth Redding
Detained at (custodian): RAMSEY COUNTY JAIL

The government is requesting the investigating agency to transport detainee.

Detainee is:            a.)         (X) charged in this district by: Complaint
                                    Charging Detainee With: Felon in Possession of a Firearm
                or      b.)         () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
         or b.)                     ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on September 7, 2022 at 1:30 p.m. in the courtroom of The Honorable Tony N.
Leung.

Dated: September 6, 2022                                                                        _________________________________
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                                                                                                EMILY
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                                                                                                         POLACHEK,
                                                                                                          OLACHEK, AUSA
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                                                              WRIT OF HABEAS CORPUS

               (X )Ad Prosequendum                                      ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for
this district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and
any further proceedings to be had in this case, and at the conclusion of said proceedings to return said
detainee to the above-named custodian.

            September 6, 2022
____________________________________                                                         ______________________________________
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
   A.K.A.(s) (if applicable):             Charles Kennith Redding; Charles Kenneth                      Gender:        Male
                                                   Augustus Redding
   Booking or Fed. Reg.#:                                                                               DOB:           xx/xx/1997
   Facility Address:                      425 Grove Street                                              Race:          African-American
                                          St. Paul, MN 55101                                            FBI #:         765718XD2
   Facility Phone:                        651-266-9350
   Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________

 (Signature)
